        Case 5:18-cv-00718-XR Document 71 Filed 09/26/22 Page 1 of 4
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                                                                                 RK, U.S. DISTRICT CLERK
                                                                                 IERN DISTRICT OF TEXAS


                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

INRE                                            §
                                                §
Charles Shamoon                                 §
                                                §
                Plaintiff                       §       CASE NO. SA-18-CV-00718
                v.                              §
                                                §
City of San Antonio                             §
                                                §
                Defendant                       §




         I, Charles Shamoon, plaintiff in the above action motions the Court to lift the stay in this
action based on events that have occurred since the parties' HEARING on August 24, 2022. See,
e.g.,Case No. 5:18-cv-00718.
       As Plaintiff in the above action, I will be asserting claim 12 only of the 935 patent and
claims 2, 9, 11 of the 655 patent against the defendants.
         I, Charles Shamoon plaintiff, am informing the court that patents 8,064,935, 9,602,655 &
patent 10,344,999 have been asserted against the defendants in the above action.
         in this motion, plaintiff is withdrawing the 935 patent from the lawsuit with the exception
of claim 12 upheld at the PTAB. Claims 20 & 22 of the 935 are on appeal. Plaintiff will not
assert those claims against the defendants at any time now or ever should those claims be upheld
on appeal. Plaintiff is also withdrawing patent 10344999 from the lawsuit in its entirety. Plaintiff
disclaimed all of the 999 claims at the PTAB. Also, in this motion, plaintiff will be asserting
claims 2, 9 & 11 of the 9,602,655 patent against the defendants in this action. Claims 2, 9, & 11
of the 655 patent were upheld at the PTAB.
        In sum, plaintiff withdraws patent 8,064,935 except for claim 12. Claims 20 & 22 of the
935 that are on appeal will never be asserted at any time against the defendant in this action or
any future action. Plaintiff will assert claim 12 of the 935 patent against the defendants in this
action. Also, plaintiff withdraws patent 10,344,999 in its entirety and will assert claims 2, 9 & 11
of the 9,602,655 patent.
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        I would like to inform the court that patent 8,064,935 & patent 9,602,655 were filed in
the initial lawsuit See ,e.g.,   Case No. 5:20-cv-00815.

      Overall, the claims being asserted in this motion, were all confirmed by the Patent Trial
& Appeal Board so there is no reason not to lift the stay.
        After meeting and conferring, the defendants will not agree to join in on this motion. The
stay that was put in place in these cases can be lifted. Accordingly, the plaintiff respectfully
request that the Court lift the stay and enter the Proposed Scheduling Order enclosed with this
Motion.


                                                            Respectfully Submitted by,




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                                  CERTIFICATE OF SERVICE




I             true copy of this document was served in accordance with Federal Rules of Civil
    certify that    a
Procedure on the following on September 23, 2022.

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